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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION


UNITED STATES OF AMERICA,

                        Plaintiff,
                                                            Case Number: 1:09-cr-20023-11
v.                                                          Honorable Thomas L. Ludington

EARLENE E. ROBERTSON,

                  Defendant.
_______________________________________/

    ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
DEFENDANT’S PLEA OF GUILTY AS TO THE INFORMATION, AND TAKING THE
           RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

          A plea hearing was conducted on September 10, 2010 , by United States Magistrate Judge

Charles E. Binder pursuant to the defendant’s consent. The magistrate judge issued his report on

 September 13, 2010 , recommending that this Court accept the defendant’s plea of guilty to the

information. As of today’s date, no party has filed any objections to the magistrate judge’s report

and recommendation. The election to not file objections to the magistrate judge’s report releases

the Court from its duty to independently review the record. Thomas v. Arn, 474 U.S. 140, 149

(1985).

          Accordingly, it is ORDERED that the magistrate judge’s report and recommendation [Dkt.

#282] is ADOPTED.

          It is further ORDERED that the defendant’s plea of guilty as to the information is

ACCEPTED, and the Rule 11 Plea Agreement [Dkt. #281] is taken UNDER ADVISEMENT.

                                             s/Thomas L. Ludington
                                             THOMAS L. LUDINGTON
                                             United States District Judge
Dated: October 1, 2010
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                                           PROOF OF SERVICE

                   The undersigned certifies that a copy of the foregoing order was served
                   upon each attorney or party of record herein by electronic means or first
                   class U.S. mail on October 1, 2010.
                                                     s/Tracy A. Jacobs
                                                     TRACY A. JACOBS




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